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               IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT,
                       IN AND FOR ORANGE COUNTY, FLORIDA

 GARY LYONS as Personal Representative                CASE NO.:      2025-CA-000699-O
 of THE ESTATE OF DYLAN LYONS,

          Plaintiff,
 vs.

 CHARTER COMMUNICATIONS,
 INC. a Foreign Profit Corporation,

          Defendant.
                                               /

              PLAINTIFF’S AMENDED INITIAL DISCLOSURE PURSUANT TO
                    FLORIDA RULE OF CIVIL PROCEDURE 1.280(a)

          Pursuant to Florida Rule of Civil Procedure 1.280(a)(1), Plaintiff, GARY LYONS as

 Personal Representative of THE ESTATE OF DYLAN LYONS, by and through the undersigned

 attorney, make the Initial Discovery Disclosures:

       A. Plaintiff identifies the following names, address, telephone number, and email
          address of each individual likely to have discoverable information that Plaintiff may
          use to support their claim(s)

       1. Gary Lyons, as personal representative of the estate of Dylan Lyons
          c/o Ryan Vescio, Esquire
          NEJAME LAW, P.A
          111 N. Orange Ave., Ste. 1300
          Orlando, FL 32801
          PH: (407) 500-0000

       2. Charter Communications, Inc.
          c/o Paul G. Totten, Esquire
          Hamilton, Miller, & Birthisel, LLP
          100 South Ashley Drive, Suite 1210
          Tampa, Florida 33602

       3. Brandi Turner Major
          c/o Ryan Vescio, Esquire
          NEJAME LAW, P.A
          111 N. Orange Ave., Ste. 1300
          Orlando, FL 32801
          PH: (407) 500-0000
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    4. Tokiyo Major
       c/o Ryan Vescio, Esquire
       NEJAME LAW, P.A
       111 N. Orange Ave., Ste. 1300
       Orlando, FL 32801
       PH: (407) 500-0000

    5. Deputy John Doe
       c/o DeBevoise & Poulton, P.A.
       1035 S. Semoran Blvd., Suite 1010
       Winter Park, Florida 32792

    6. John Mina, in his official capacity as Sheriff of Orange County, Defendant
       c/o DeBevoise & Poulton, P.A.
       1035 S. Semoran Blvd. Suite 1010
       Winter Park, FL 32792

    7. All non-objectionable witnesses disclosed by Defendants in the course of discovery.
    8. Any and all witnesses, expert or otherwise, of the Defendants.
    9. Any and all witnesses listed in any answers to interrogatories or identified in documents
       produced pursuant to any subpoena or request for production.
    10. Any and all persons named in any and all hospital documents, medical records, or obtained
       in discovery or otherwise appearing in the Court file.
    11. Any and all fact witnesses disclosed through discovery who were involved in the
       investigation of the incident which is the subject of this litigation or otherwise have
       knowledge of any issues involved in this cause and by virtue of specialized knowledge,
       skill, experience, training, or education may qualify to give expert opinion testimony.
    12. Any and all expert witnesses who, due to the nature of the continuing discovery, may
       hereafter be retained in anticipation of giving expert opinion testimony at trial, subject to
       prompt and timely disclosure thereof to Defendants
    13. Any evidentiary or expert witness necessary for photo, diagram, record, video, or other
       evidentiary authentication, including but not limited to investigators, journalists, freelance
       photographers, and records custodians.
    14. Any applicable records custodians for any record or document listed on Plaintiff’s Exhibit
       List.
    15. Any and all medical care providers of Plaintiffs. Names and contact information will be
       provided in discovery.
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        Plaintiff reserves the right to amend/supplement this list as additional information becomes
 available in the course of discovery in this matter.
    B. Documents, electronically stored information, and tangible things in Plaintiff’s
       possession, custody, or control that Plaintiff may use to support their claim(s):

       1. Autopsy Report - Dylan Lyons (previously disclosed).
       2. Funeral expenses – shall be provided upon receipt.
       3. Healthcare lien – Plaintiff anticipates there may be a healthcare lien, but is unaware of
          Dylan Lyons’ healthcare at the time of death. Plaintiff is working diligently to find this
          information, which may be disclosed by Defendant in Dylan Lyons’ employee file.

         Plaintiff reserves the right to amend or supplement this disclosure as to the identity of
 documents and tangible things with regard to additional documents which may be disclosed during
 the discovery process.

        The preceding disclosures express no opinion of, and constitute no, admission regarding
 the admissibility of any evidence in this or any other action.

    C. A computation for each category of damages claimed by the Plaintiff (as of this
       date):

    1. Plaintiff is pending computation of funeral expenses, and confirmation of medical billing
       liens. Plaintiff will supplement this response as soon as specific calculations become
       available. Plaintiff will further supplement this response where additional economic
       damages are discovered during the course of litigation.

    2. Non-economic damages: As a preliminary disclosure, Plaintiff estimates non-economic
       damages in the amount of $1,680,825.00. This amount is expected to increase as discovery
       progresses.

        Plaintiff reasonably believes punitive damages are warranted, and intends to seek recovery
        of same should evidence discovered, and offered into the record, so reflect and warrant a
        recovery.

        Plaintiff will amend and/or supplement as required.

    D. Any insurance agreement under which an insurance business may be liable to satisfy
       all or part of a possible judgment in the action or to indemnify or reimburse payments
       made to satisfy the judgment

    1. Insurance policies provided to Plaintiff by Charter Communications will be disclosed to
       Defendant contemporaneous to this filing (previously disclosed).
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 16, 2025, a true and correct copy of the foregoing

 was furnished via electronic mail to all counsel of record.

                                                      /s/ DeLayne D. Penland
                                                      Ryan J. Vescio, Esquire
                                                      Florida Bar Number: 14032
                                                      Mark E. NeJame, Esquire
                                                      Florida Bar Number: 310931
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                                                      Attorney(s) for Plaintiffs
